Case: 6:13-cr-00020-GFVT-HAI           Doc #: 1181 Filed: 06/26/18           Page: 1 of 3 - Page
                                          ID#: 4118



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )           Criminal No.: 6:13-cr-00020
                                                 )
 V.                                              )
                                                 )                     ORDER
 BOBBY DARRELL CANADA, II,                       )
                                                 )
        Defendant.                               )
                                                 )


                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition (R&R) of United States

Magistrate Judge Hanly A. Ingram. [R. 1169.] For the following reasons, his R&R is adopted as

and for the opinion of the Court.

       The Defendant first violated the terms of his supervised release on February 11, 2016, but

his supervision was not revoked at that time. [Id. at 1.] On April 20, 2016, the Defendant again

violated the terms of his supervised release but his supervision was not revoked and he was

required to attend an Intensive Outpatient Program. [Id. at 1.] On May 26, 2016, the Defendant

violated the terms of his supervised release for a third time. His supervised release was revoked

and he served seven (7) months in federal custody with forty-eight (48) months of supervision

following. [Id. at 2.] Shortly after being released, in April 2017, the Defendant violated again

but was not revoked. [Id. at 2.]

       On March 23, 2018, USPO issued a Report, charging Defendant with two charges,

related to using unlawful substances. [Id. at 3.] On March 29, 2018, the USPO issued an
Case: 6:13-cr-00020-GFVT-HAI            Doc #: 1181 Filed: 06/26/18           Page: 2 of 3 - Page
                                           ID#: 4119



Addendum charging Defendant with two additional charges related to using unlawful substances.

[Id. at 3.] These four charges have led to the current violation of supervised release.

       Upon evaluation of the entire record, including the Supervised Release Violation Report

and accompanying documents and the sentencing materials from the underlying judgments in

this District, Magistrate Judge Atkins recommended a period of incarceration of twenty (20)

months with no period of supervised release. [Id. at 9.] Judge Ingram has justified this above-

guidelines recommendation due to the Defendant’s previously lenient treatment, that he has

violated five separate times, and his dishonesty with USPO. [Id. at 9.] The Defendant has

waived his right to allocution. [R. 1177.]

       Generally, this Court must make a de novo determination of those portions of a

recommended disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, however, this Court is not required to “review . . . a magistrate’s factual or

legal conclusions, under a de novo or any other standard . . . .” Thomas v. Arn, 474 U.S. 140,

150 (1985). Parties who fail to object to a Magistrate’s recommended disposition are also barred

from appealing a district court’s order adopting that report and recommendation. United States

v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this Court has examined the record, and it

agrees with the Magistrate Judge’s Recommended Disposition.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Magistrate’s Recommended Disposition [R. 1169] as to Bobby Darrell

Canada, II is ADOPTED as and for the Opinion of the Court;

       2.      Mr. Canada is found to have committed all four (4) violations as identified in the

Recommended Disposition of the Magistrate Judge;


                                                 2
Case: 6:13-cr-00020-GFVT-HAI          Doc #: 1181 Filed: 06/26/18        Page: 3 of 3 - Page
                                         ID#: 4120



       3.     Mr. Canada’s Supervised Release is REVOKED; and

       4.     Mr. Canada is hereby sentenced to a term of incarceration for twenty (20)

months with no period of supervised release to follow.

       This the 26th day of June, 2018.




                                               3
